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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

CRYSTAL WATSON                                                                     PLAINTIFF


v.                               Case No. 3:18-cv-00141-LPR


CENTURY MANAGEMENT LLC,                                                         DEFENDANTS
CENTURY MANAGEMENT INC.
Doing business as McDonald’s


                                         JUDGMENT


       Pursuant to the Order filed on September 25, 2020, it is considered, ordered, and adjudged

that judgment be entered in favor of Defendants on all claims.

       IT IS SO ADJUDGED this 25th day of September 2020.




                                                    ________________________________
                                                    LEE P. RUDOFSKY
                                                    UNITED STATES DISTRICT COURT
